                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION – DETROIT

In re:
                                                                     Case No. 11-43192
         Peter C. Cubba,                                             Chapter 7
                                                                     Hon. Walter Shapero
                Debtor.

____________________________________/

Flagstar Bank, FSB,

                Plaintiff,

v.                                                                   Adv. Pro. No. 11-05518

Greenstone Investments, LLC, a Michigan
limited liability company, Fairfield
Investments, LLC, a Michigan limited
liability company, Allen Point Investments,
LLC, a Michigan limited liability company,
Peter J. Cubba, an individual, Peter J.
Cubba Revocable Living Trust
Agreement Dated March 5, 1999, as
Amended, a trust, and Peter C. Cubba, an
individual,

                Defendants.

____________________________________/

                 ORDER GRANTING PLAINTIFF’S MOTION TO
         REMAND PORTION OF REMOVED PROCEEDING TO STATE COURT

         For the reasons set forth in the Court’s Opinion entered concurrently herewith,
         IT IS HEREBY ORDERED that Plaintiff’s Motion to Remand the Guaranty Claim to
the state court is GRANTED. In doing so, it should be clear that the remand is only to the extent
that the state court decide the validity and amount, if any, of the Guaranty Claim, following
which, it’s treatment will be a matter for the Bankruptcy Court to determine.
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                                  Signed on August 19, 2011
                                                     ____ __/s/ Walter Shapero_                 ___




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                                                 Walter Shapero
                                                 United States Bankruptcy Judge




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